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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:21-cr-00138-JEB
                                             :
AARON MOSTOFSKY,                             :
                                             :
                      Defendant.             :


               UNITED STATES’ MOTION IN LIMINE REGARDING
           CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESSES

       The United States of America moves to limit the cross-examination of witnesses with the

Secret Service Agency, pursuant to Fed. R. Evid. 401, 403, and 611(b).

                                       INTRODUCTION

       In Count One of the Second Superseding Indictment, the defendant is charged with

obstructing, impeding, and interfering with, or attempting to obstruct, impede, or interfere with,

law enforcement officers during the breach of the United States Capitol on January 6, 2021, in

violation of 18 U.S.C. § 231(a)(3). Counts Five and Six charge the defendant with violating 18

U.S.C. § 1752(a)(1) and (2) by knowingly entering or remaining in a restricted building or grounds

without lawful authority and knowingly, and with intent to impede or disrupt the orderly conduct

of Government business and official functions, engaging in disorderly or disruptive conduct in, or

within proximity of, any restricted building or grounds, when such conduct does in fact impede or

disrupt Government business and official functions. That statute defines “restricted buildings or

grounds” to include any building or grounds temporarily visited by a person being protected by

the Secret Service. 18 U.S.C. § 1752(c)(1)(B).

       To meet its burden of proof at trial, the government will call a witness from the United

States Secret Service to testify that at the time of the Capitol breach, Secret Service agents were
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on duty to protect Vice President Mike Pence and his two immediate family members, all of whom

were present at the Capitol. These officials will further testify about the Capitol breach’s effect on

the Secret Service’s protection of Vice President Pence and his family members.

       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of the Secret Service witnesses to questioning about the

federally protected function performed by the Secret Service as testified to on direct exam, in this

case protecting the Vice President and his family. The government further requests that such order

preclude cross-examination that would elicit information that is not directly related to whether the

Secret Service was performing that function at the Capitol on January 6, 2021. The defendant

should be specifically foreclosed from questioning the witnesses about the following:

       1. Information related to the location within the Capitol or its grounds to which the Vice

            President and his family, or their motorcade, were taken once the riot began on January

            6, 2021;

       2. Secret Service protocols related to the locations where protectees or their motorcades

            are taken at the Capitol or other government buildings when emergencies occur;

       3. Details about the nature of Secret Service protective details, such as the number and

            type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.      This Court Has the Discretion to Limit Cross-Examination of Witnesses at
               Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931)(“The extent of cross-examination [of a witness] with



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respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,

prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       The Confrontation Clause guarantees only “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin, 101

F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-examination

on prejudicial matters without reasonable grounding in fact); United States v. Sampol, 636 F.2d

621, 663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination of alleged

CIA murder scheme until defense put forth sufficient evidence of the affirmative defense in its

case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court

properly excluded cross examination of government’s witness with response to matter only related

to an affirmative defense and not elicited through direct exam). Preventing the defendant from

exploring the topics identified above will not infringe his Confrontation Clause rights because




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those topics are not relevant to an element at issue in the case, provide no basis for impeaching the

Secret Service witness, and do not implicate any affirmative defense.

       II.      Cross-Examination of Secret Service Witnesses Should Be Limited to
                Whether the Capitol Breach Interfered with a Federally Protected Function
                and Whether the Capitol was Restricted on January 6, 2021

       To prove Count One, the government intends to offer limited testimony about the Secret

Service’s protection of certain officials on January 6, 2021. First, to establish a violation of 18

U.S.C. § 231(c)(3), the government must prove, among other things, that a civil disorder interfered

with a federally protected function. 18 U.S.C. § 231(c)(3); United States v. Red Feather, 392 F.

Supp. 916, 918-19 (D. S.D. 1975). A “federally protected function” includes any lawful function,

operation, or action by a federal agency or officer. 18 U.S.C. § 232(3). Thus, the government must

prove that the January 6 breach interfered with a federal agency or federal officer’s performance

of lawful duties. To meet this element, the government intends to offer the testimony that pursuant

to authority under 18 U.S.C. § 3056(a)(1), on January 6, 2021, Secret Service agents were at the

Capitol to protect Vice President Mike Pence and two members of his immediate family.1 A Secret

Service official is further expected to explain how the events at the Capitol on that date affected

the Secret Service’s ability to protect Vice President Pence and his family.

       Likewise, as it relates to Counts Five and Six, similar testimony will be offered to establish

that the Capitol and its grounds were “restricted,” for purposes of § 1752(a) because the Vice

President and his family were present there and being protected by the Secret Service. See 18

U.S.C. § 1752(c)(1)(B) (defining restricted buildings and grounds).

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant and an unnecessary intrusion into sensitive


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 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).

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national security matters. The fact that the Vice President, his family, and their motorcade had to

be moved for safety is relevant to whether the civil disorder adversely affected the Secret Service’s

ability to protect those individuals. But the location to which they were moved, or the Secret

Service’s general protocols about relocation for safety, should be excluded as irrelevant because

such evidence does not tend to make a fact of consequence more or less probable. Fed. R. Evid.

401 (defining relevant evidence). Similarly, evidence of the nature of Secret Service protective

details is not relevant in this case. The number or type of assigned agents on a protective detail

does not alter the probability that the disorder interfered with the Secret Service’s duties to

protectees in this case, or that the Capitol and its grounds were restricted at the time. None of the

other elements to be proven, or available defenses, implicates further testimony from the Secret

Service.

       Further, those topics implicate sensitive matters of national security. Hopefully, January 6,

2021 will be the last time that the Secret Service has to evacuate the Vice President (or the

President) to a secure and secret location inside the United States Capitol. But if it is not, providing

enemy nations or terrorists with information that would help them capture or kill those officials

could be devastating.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security without adding any

appreciable benefit to the determination of the truth, or the veracity or bias of witnesses. Id.


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   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence

          If this court determines that a hearing is necessary to determine the admissibility of

testimony by a witness from the Secret Service, the government requests the hearing be conducted

in camera and ex parte. . Courts have found that disclosure of information could prove detrimental

to the Secret Service’s ability to protect high-level government officials and affect our national

security justify ex parte, in camera proceedings. See Gilmore v. Palestinian Interim Self-Gov’t

Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (ex parte proceedings are appropriate where a party

sought sensitive intelligence materials generated in the midst of a geopolitical conflict); United

States v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte

proceedings to evaluate bona fide Government claims regarding national security information are

proper.”); In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings

“serve to resolve, without disclosure, the conflict between the threatened deprivation of a party’s

constitutional rights and the Government’s claim of privilege based on the needs of public

security”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same); see

generally United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district court’s order for in

camera inspection of subpoenaed presidential materials).




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                                       CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any United States Secret Service witness, regardless of

whether that witness is called by the government or the defense. If this court determines an

evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

                                            Respectfully submitted,

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